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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK


                                          :
GREAT WESTERN INSURANCE COMPANY,          :
                                          :
                 Plaintiffs,              :
                                          :
           v.                             :
                                          :
MARK GRAHAM, DONALD SOLOW, BLUE           :
CAPITAL MANAGEMENT, INC., BLUE            :
ALTERNATIVE ASSET MANAGEMENT LLC,         :
WILMINGTON SAVINGS FUND SOCIETY,          :
FSB, CHRISTIANA TRUST, REGATTA            :
HOLDINGS LLC, CYGNET 001 MASTER           :
TRUST, CYGNET 001 MASTER TRUST SERIES     :
2011-A, CYGNET 001 MASTER TRUST SERIES    : CIVIL ACTION NO.
2011-C, CYGNET 001 MASTER TRUST SERIES    : 1:18-CV-06249 (VSB)
2013-A, ALPHA RE LIMITED, ALPHA RE        :
HOLDINGS (CAYMAN) LIMITED, ATLANTIC       :
SPECIALTY FINANCE, BLUE ELITE FUND        :
LTD., BLUE ELITE FUND LP, BLUE II LTD.,   :
SANCUS CAPITAL BLUE CREDIT                :
OPPORTUNITIES FUND LTD., ABILITY          :
INSURANCE COMPANY, JOHN DRAKE,            :
EDWARD BRENDAN LYNCH, AND GREGORY         :
TOLARAM.                                  :
                                          :
                 Defendants.              :
                                          :
                                          :
                                          :



MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT MARK GRAHAM, BLUE
 CAPITAL MANAGEMENT, INC., BLUE ALTERNATIVE ASSET MANAGEMENT,
  LLC, BLUE ELITE FUND LTD., BLUE ELITE FUND L.P., AND BLUE II, LTD.’S
     MOTION TO DISMISS GREAT WESTERN INSURANCE COMPANY’S
                    SECOND AMENDED COMPLAINT
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        Defendants Mark Graham, Blue Capital Management, Inc. (“BCM”), Blue Alternative

Asset Management, LLC (“BAAM”), Blue Elite Fund, Ltd. (“Blue Elite Ltd.”), Blue Elite Fund,

L.P., (“Blue Elite L.P.”) and Blue II, Ltd. (“Blue II”) (together the “Blue Defendants”)

respectfully submit this memorandum of law in support of their motion to dismiss the Second

Amended Complaint (the “SAC”), filed by Plaintiff Great Western Insurance Company on

December 19, 2018, pursuant to Federal Rules of Civil Procedure 9(b), 12(b)(2), and 12(b)(6). 1

        This is a contract dispute between Great Western and Alpha Re Limited (“Alpha Re”);

indeed, Great Western and Alpha Re have already resolved this contract dispute through

arbitration, with Great Western securing a $131.4 million judgment. (SAC ¶ 160.) Relying now

on this same contractual relationship, Great Western seeks not just a double recovery (first from

Alpha Re and now from everyone else), but a treble recovery in the form of RICO damages. As

far as concerns the Blue Defendants, Great Western seeks that recovery from entities with whom

it had no contractual relationship and that owed it no fiduciary duties. Allegations of fraud are

stated in conclusory fashion, with the only details provided failing to state a claim for fraud. For

most of the Blue Defendants, the only way a claim is asserted at all is by grouping the Blue

Defendants together or with other defendants via improper group pleading. For most of the

SAC, Great Western simply disregards the corporate form. The RICO allegations are not only

barred by the Private Litigation Securities Reform Act (“PSLRA”), but fail to state a RICO claim

under any subsection of 18 U.S.C. § 1962.

        This is Great Western’s second shot at formulating an adequate complaint. Yet, despite

having the benefit of all the defendants’ motions to dismiss prior to drafting the SAC, Great

Western still fails to state a viable cause of action against the Blue Defendants. Despite the


1
  All Terms used but not defined in this memorandum are defined as set forth in the SAC. All relevant arguments
raised by the other defendants are incorporated by reference.
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bombast of Great Western’s SAC, all of its claims against the Blue Defendants flounder and fail.

The SAC should be dismissed.

                                             FACTS

       This is a contract action, arising out of an alleged breach of the reinsurance agreement

between Alpha Re, a reinsurer, and Great Western, an insurer. Great Western, an insurance

company domiciled in Utah, first entered into a coinsurance (reinsurance) agreement with

Ability Re in 2009 (the “Coinsurance Agreement”). (SAC ¶¶ 2, 60.) In 2012, Alpha Re

assumed Ability Re’s obligations via a novation agreement (the “Novation Agreement”). (Id. at

¶¶ 64-67; Ex. B, § 4.) Great Western received $2 million as consideration for the novation. (Id.)

The parties also executed a trust agreement (the “Trust Agreement”) for the establishment of a

trust account with Great Western as the beneficiary (the “Trust Account”). Great Western,

Alpha Re, and WSFS were the only parties to the Trust Agreement.

       These three agreements define the relationship of Great Western, Alpha Re, and WSFS:

the Coinsurance Agreement (SAC, Ex. A), the Novation Agreement (SAC, Ex. B), and the Trust

Agreement (SAC, Ex. C). They set forth all the rights, responsibilities, and obligations of all the

parties and the exclusive remedies for breaches of the agreements. These were all

comprehensive agreements drafted and agreed to by sophisticated parties, represented by

counsel.

       A.      Coinsurance Agreements in the Reinsurance Industry.

       Reinsurance is a contract “by which, in exchange for a premium, a specified portion of

the risks under one or more insurance policies written by the cedent [the insurer] are transferred

(“ceded”) to the reinsurers.” Fed. Ins. Office, U.S. Dep’t of the Treasury, The Breadth & Scope

of the Global Reinsurance Market & the Critical Role Such Market Plays in Supporting




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Insurance in the United States, December 2014, p. 1 (hereinafter, Global Reinsurance). 2 In

addition to hedging against the risk of large losses, reinsurance, by permitting an insurer to move

risk off its books, can free up capital and increase underwriting capacity. Id.; see also “Ceding

Company,” Investopedia, available at https://www.investopedia.com/terms/c/ceding-

company.asp (last visited February 2, 2019). Although reinsurers operating outside the United

States are not subject to state collateralization requirements, they are indirectly bound by

applicable state laws because an insurer based in the United States must obtain qualifying

collateral in order to take financial statement credit for ceding the risk. Global Reinsurance, p. 1.

        There are many forms of reinsurance. Here, Great Western and Alpha Re entered into a

“pro rata” form of reinsurance known as “quota share,” also known, as in this case, as a

“coinsurance agreement.” See id., at p. 9; (SAC, Ex. A, § 2.01 (defining coverage).) Under a

“quota share” agreement, “a cedent and reinsurer share a predetermined percentage of both the

premium charged for the underlying insurance policies” as well as the exposure. Global

Reinsurance, p. 9. In this case, Great Western ceded 75% of benefits and liabilities to Alpha Re.

(SAC, Ex. A, § 2.01(a) and p. 2 (definitions).)

        B.       The Trust Agreement.

        Great Western is a company regulated by the laws of the State of Utah. (SAC ¶ 2.) To

obtain financial statement credit, and therefore free up capital, any reinsurance Great Western

obtained was required to be collateralized by certain approved forms of security. (See SAC ¶

61.) As a result, the parties entered into the Trust Agreement, which was to serve as “security

for the payment of the Reinsurer’s [Alpha Re] obligations to the Company [Great Western].”

(SAC, Ex. A, § 12.02.)


2
 Available at: https://www.treasury.gov/initiatives/fio/reports-and-notices/Documents/FIO%20-
%20Reinsurance%20Report.pdf


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         By the terms of the Trust Agreement, Great Western was the beneficiary, Alpha Re was

the Grantor, and WSFS was the Trustee. (SAC, Ex. C, p. 2.) But, it does not follow that the

funds in the Trust Account belonged to Great Western. To the contrary, the funds ceded by

Great Western were the funds that Great Western owed to Alpha Re as consideration for Alpha

Re taking on 75% of Great Western’s liability for the specified insurance policies. (SAC, Ex. A,

§ 2.01(a) & p. 2 (definitions).) They were Alpha Re’s funds. Alpha Re was free to invest those

funds as it saw fit, provided that the collateral in the Trust Account conformed to the types of

assets permitted by the Trust Agreement (“Allowable Assets”). (See SAC ¶ 20; Ex. C, § 1.)3

         As part of the Trust Agreement, Alpha Re provided Great Western “Investment

Guidelines,” which included a “Sample Portfolio Allocation for the Trust Account.” (See SAC,

Ex. C, § 1(c) & pp. 86-87.) The Sample Portfolio Allocation, among other proposed assets,

listed “cash and short term investments (including cash and repurchase agreements).” (Id.)

         The Trust Agreement permitted Alpha Re to appoint an investment manager, upon the

written approval of Great Western. (SAC, Ex. C, § 4(b).) While Great Western had the right to

approve the proposed investment manager, it did not have the right to select the investment

manager. Furthermore, the Trust Agreement expressly states:

         The Investment Manager is the agent of, and is acting on behalf of, the Grantor.
         The Grantor shall be solely responsible for all fees charged by and all obligations
         to the Investment Manager in connection with the Trust Account.

(Id.)




3
 Allowable assets were listed as “assets rated investment grade by at least one Nationally Recognized Statistical
Rating Organization (“NRSRO”), cash (United States legal tender), securities listed by the National Association of
Insurance Commissioner’s Securities Valuation Office and qualifying as assets under the Utah Insurance Code, and
“Eligible Securities.” (SAC, Ex. C, § 1(c).) “Eligible Securities” is defined as “certificates of deposit issued by a
United States bank and payable in United States legal tender, and investments of the types specified in Section 31A-
18-105 of the Utah Insurance Code.” (Id.)


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       At the time the Trust Agreement was executed, Great Western was aware that Graham

would be handling the Trust Account for BAAM. (SAC ¶ 67; see also Ex. C, p. 92.)

       C.      The Repurchase Agreement.

       In September 2012, Alpha Re entered into the Repurchase Agreement with Series 2011-

C. (SAC, Ex. D.) The Repurchase Agreement here is a “reverse repurchase agreement,” where

“insurance companies purchase securities from a counterparty in exchange for cash and agree to

resell the same or substantially the same securities to the counterparty on an agreed-upon date for

a predetermined price within a 12-month time frame.” Nat’l Assoc. of Ins. Comm’rs & Center

for Ins. Policy and Research, “Repurchase Agreements, Dollar Repurchase Agreements and

Reverse Repurchase Agreements in the Insurance Industry,” available at

https://www.naic.org/capital_markets_archive/120112.htm (last visited Feb. 2, 2019).

Repurchase agreements are generally considered a low-risk method of raising capital. Id.

       Series 2011-C is an investment vehicle owned by Regatta, which, in turn, is owned by

Solow. (SAC ¶ 70.) In December 2013, over a year after the Repurchase Agreement was

executed, BCM became the collateral manager for Series 2011-C. (Id. at ¶ 77.) Although Great

Western claims that it did not know about Graham and BCM’s involvement with Series 2011-C

(id. at ¶ 79), according to the SAC, Graham signed the Repurchase Agreements in 2015 and

2016, belying this claim. (Id. at ¶¶ 93, 98.)

       For years, there were no serious issues between the parties. (See, e.g., id. at ¶ 136.)

Indeed, during this time period, the parties executed two repurchase confirmation agreements.

(Id. at ¶¶ 92-102.) Then, in late 2016, news of an SEC investigation and a large redemption from

the Series 2011-C fund impacted the fund’s liquidity, resulting, according to Great Western, in a

series of events culminating in Great Western’s sale. (See id. at ¶¶ 113-35.)




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        Based on these events, Great Western asserts the following counts in the SAC against the

Blue Defendants:

     Count                     Allegation                          Blue Defendants Named

 I           Breach of Fiduciary Duty                          Graham, BAAM

 II          Aiding and Abetting Breach of Fiduciary Duty BCM, Blue Elite Ltd., Blue Elite
                                                          LP, Blue II

 III         Fraud                                             Graham, BCM, BAAM

 IV          Aiding and Abetting a Fraud                       Graham, BCM, BAAM

 V           Civil RICO, subsection (c)                        Graham, BCM, BAAM
             (18 U.S.C. § 1962(c))

 VI          Civil RICO, subsection (a)                        Graham, BCM, BAAM
             (18 U.S.C. § 1962(a))

 VII         RICO conspiracy                                   All Blue Defendants
             (18 U.S.C. § 1962(d))

 VIII        Civil Conspiracy to Commit Fraud                  All Blue Defendants

 XI          Unjust Enrichment                                 All Blue Defendants

                                          ARGUMENT

        While the Court must accept all well-pleaded allegations in the SAC as true, it must

ignore bare-bones conclusory statements, lacking any factual support. Pungitore v. Barbera, 506

F. App’x 40, 42 (2d Cir. 2012) (noting “[a] court must first ignore ‘mere conclusory statements’

or legal conclusions, which are not entitled to the presumption of truth”). If the “well-pleaded

facts do not permit the court to infer more than the mere possibility of misconduct,” the SAC

should be dismissed. Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) (citing Fed. R. Civ. P. 8(a)(2));

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (holding that “[f]actual allegations must be

enough to raise a right to relief above the speculative level”). Once the conclusory statements




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and legal conclusions are disregarded, it is clear that Great Western fails plead any cause of

action against the Blue Defendants. Thus, the SAC should be dismissed.

I.     The Complaint Against BCM, Blue Elite, Ltd., and Blue II Should Be Dismissed For
       Lack of Personal Jurisdiction under Fed. R. Civ. P. 12(b)(2).

       Great Western cannot carry its burden to establish personal jurisdiction over defendants

Blue Elite Ltd., Blue II, and BCM. Grand River Enters. Six Nations, Ltd. v. Pryor, 425 F.3d

158, 165 (2d Cir. 2005); Koehler v. Bank of Bermuda Ltd., 101 F.3d 863, 865 (2d. Cir. 1996).

       A.      Great Western Cannot Establish That the Court Has General Jurisdiction
               over Blue Elite Ltd., Blue II, or BCM.

       The text of the SAC itself establishes that the Court lacks general jurisdiction over these

three entities. For general jurisdiction to exist, each defendant’s contacts with New York must

be “so constant and pervasive as to render it essentially at home in [New York].” Daimler AG v.

Bauman, 571 U.S. 117, 122 (2014). “With respect to a corporation, the place of incorporation

and principal place of business are paradigm bases for general jurisdiction.” Id. at 137.

       Great Western concedes: 1) that defendant Blue Elite Ltd., a mutual fund regulated by the

laws of the Cayman Islands, is incorporated and maintains a principal place of business in the

Cayman Islands, and 2) that defendant BCM is incorporated and maintains a principal place of

business in the Commonwealth of Puerto Rico. (SAC ¶¶ 22 and 11, respectively). Great

Western concedes that Blue II is a Cayman Islands entity, but generically alleges that it

maintains a principal place of business in New York. (Id. at ¶ 24.) In fact, Blue II, a mutual

fund regulated by the laws of the Cayman Islands, has maintained a principal place of business in

the Cayman Islands since its inception in June 2012. (See Declaration of Mark Graham, at ¶ 2.)

Further, none of these entities had offices or employees in New York. (Id. at ¶¶ 4-7.)

Accordingly, the Court lacks general jurisdiction over Blue Elite Ltd., Blue II, and BCM.

Daimler, 571 U.S. at 136-37.


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       B.      Great Western Cannot Establish Specific Jurisdiction over Blue Elite Ltd.,
               Blue II, or BCM.

       Nor can Great Western establish specific jurisdiction over these entities under New

York’s long arm statute. See N.Y. C.P.L.R. 302(a). The long arm statute is constrained by due

process, which requires that the alleged “suit-related conduct must create a substantial

connection with the forum State” and “arise out of the contacts that the defendant himself creates

with the forum.” Walden v. Fiore, 571 U.S. 277, 284 (2014) (citations and internal quotations

omitted, emphasis in original). In New York, this requires, at a minimum, that some business be

transacted in New York, and that Great Western’s claim “arise from that business activity.”

Eades v. Kennedy, PC Law Offices, 799 F.3d 161, 168 (2d Cir. 2015); N.Y. C.P.L.R. 302(a)(1).

       Furthermore, “a defendant’s physical presence in New York is a prerequisite to

jurisdiction under § 302(a)(2).” Bank Brussels Lambert v. Fiddler Gonzalez & Rodriguez, 171

F.3d 779, 790 (2d. Cir. 1999). Finally, under C.P.L.R. 302(a)(3), the injury claimed must occur

in New York. DiStefano v. Carozzi N. Am., Inc., 286 F.3d 81, 84-85 (2d Cir. 2001). Great

Western’s reliance on “blank assertion[s] of conspiracy or agency” is insufficient when “there

are no allegations of specific acts which would connect” the defendant to New York. Lehigh

Valley Ind., Inc. v. Birenbaum, 527 F.2d 87, 94 (2d Cir. 1975).

       Blue Elite Ltd. and Blue II are hardly mentioned in the SAC save for some conclusory

claims that they “received money” that potentially originated in the Trust Account in Delaware

(when, where, what, and how, are not pled), and that they concealed conflicts of interest

(although to whom they allegedly owed a duty of disclosure is not pled). (SAC ¶¶ 79, 90, 103.)

       The only alleged connection to New York is a relationship with Mr. Graham. But Great

Western has not identified how this relationship, only vaguely defined as drafting emails,

participating in telephone conferences, and conducting “other business,” from New York on



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behalf of Blue Elite Ltd. and Blue II (id. at ¶¶ 49, 51), relates to Great Western’s claims or how

these transactions are substantially related to the claims in the SAC. Eades, 799 F.3d at 168.

This is insufficient to establish personal jurisdiction over international entities.

        The allegations against BCM also fail to establish specific jurisdiction. BCM is alleged

to have “received money,” to have transferred money between overseas entities, and “entered

into a Collateral Management Agreement” with Regatta, a Delaware limited liability company

with a principal place of business in New Jersey. (SAC ¶¶ 14, 77, 103, 108.) This is insufficient

to establish the existence of jurisdiction. See AMP Servs. Ltd. v. Walanpatrias Found., 34

A.D.3d 231, 232 (1st Dep’t 2006) (transfer of assets occurs where the assets are located). That

leaves Great Western with the same generic and insufficient allegations of “business activity”

allegations that it proffers for Blue Elite Ltd. and Blue II. (See id. at ¶ 38.)

        Finally, personal jurisdiction against these three entities, unconnected with New York,

cannot exist because the claimed injury is “out of state”: a loss of funds from a Delaware trust

account held for Great Western, a Utah corporation, through a series of alleged actions taken

overseas. N.Y. C.P.L.R. 302(a)(3) therefore does not apply. See, e.g., Fantis Foods, Inc. v. Std.

Importing Co., 49 N.Y.2d 317, 325-26 (1980); Gelfand v. Tanner Motor Tours, Ltd., 339 F.2d

317, 321-22 (2d Cir. 1964); McBride v. KPMG Int’l, 135 A.D.3d 576, 577 (1st Dep’t 2016).

        The SAC should be dismissed against Blue Elite Ltd., Blue II, and BCM for lack of

personal jurisdiction.

II.     Count One: Great Western Fails to State a Cause of Action for Breach of Fiduciary
        Duty Against BAAM and Graham.

        Under New York law, to plead a breach of fiduciary duty, Great Western must show: (1)

the existence of a fiduciary duty; (2) a knowing breach of that fiduciary duty; and (3) damages




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resulting from the breach. 4 Zorbas v. U.S. Tr. Co., 48 F. Supp. 3d 464, 478 (E.D.N.Y. 2014); see

also Ozelkan v. Tyree Bros. Envtl. Servs., 29 A.D.3d 877, 879 (2d Dep’t 2006); Horn v. 440 East

57th Co., 151 A.D.2d 112 (1st Dep’t 1989). These elements must be pled with particularity.

Fed. R. Civ. P. 9(b); Meisel v. Grunberg, 651 F. Supp. 2d 98, 108 (S.D.N.Y. 2009) (Leisure, J.).

        A.       Count One should be dismissed because Great Western fails to set forth
                 allegations apart from the contract establishing a relationship of higher trust.

        Where there is a “formal written agreement covering the precise subject matter of the

alleged fiduciary duty,” there can be no cause of action for breach of fiduciary duty. Fillmore E.

BS Fin. Subsidiary LLC v. Capmark Bank, 552 F. App’x 13, 17 (2d Cir. 2014) (citing Pane v.

Citibank, N.A., 797 N.Y.S.2d 76, 77 (1st Dep’t 2005)); see also Brooks v. Key Trust Co. Nat’l

Ass’n, 26 A.D.3d 628, 630 (3d Dep’t 2006) (holding that a fiduciary duty claim “based on the

same facts and theories as [a] breach of contract claim” must be “dismissed as duplicative”).

        Great Western’s breach of fiduciary duty allegations are entirely encompassed within the

three operative agreements between Great Western, Alpha Re, and WSFS. Any such claim

would be entirely duplicative of a breach of contract claim, which Great Western already

litigated in arbitration. See Great Western Ins. Co. v. Alpha Re Ltd., Pet. to Confirm Arbitration

Award, No. 1:17-cv-09446 (AKH) (S.D.N.Y.) (ECF No. 1); Ellington Credit Fund, Ltd. v. Select

Portfolio Servicing, Inc., 837 F. Supp. 2d 162, 196 (S.D.N.Y. 2011) (observing “[i]n New York,

a cause of action for breach of fiduciary duty which is merely duplicative of a breach of contract

claim cannot stand”). As Great Western fails to “‘set forth allegations that, apart from the terms

of the contract’. . .‘created a relationship of higher trust than would arise from [their contracts]


4
  The Trust Agreement contains a choice of law clause that reads: “All matters concerning the construction and
interpretation of this Agreement and performance under this Agreement shall be interpreted and construed according
to the laws of the State of Delaware without regard to said state’s conflict of laws rules.” (SAC, Ex. C, § 9.)
Consistent with the Second Circuit’s opinion in Finance One Public Co. v. Lehman Bros. Special Financing, Inc.,
this contractual choice of law clause is not sufficiently broad to encompass tort claims. 414 F.3d 325, 334-35 (2d
Cir. 2005) (citing Twinlab Corp. v. Paulson, 724 N.Y.S.2d 496, 496 (App. Div. 2d Dep’t 2001)).


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alone,’” Count One should be dismissed. Brooks, 26 A.D.3d at 630 (emphasis and alterations in

original) (quoting EBC I, Inc. v. Goldman, Sachs & Co., 5 N.Y.3d 11, 20 (2005)).

       B.      Great Western Fails to Establish that BAAM Owed Great Western a
               Fiduciary Duty.

       Great Western also cannot establish that BAAM owed it a fiduciary duty. BAAM is

identified solely as the agent of Alpha Re. (SAC, Ex. C, § 4(b).) All of its rights flow from, and

all of its obligations flow to, Alpha Re. The terms of the contract have clearly defined and

articulated the rights and obligations between the parties, including the rights and obligations of

Alpha Re’s agent, BAAM.

       A contract should interpreted to give effect to the intent of the parties. Seiden Assocs.,

Inc. v. ANC Hldgs., Inc., 959 F.2d 425, 428 (2d Cir. 1992); see also Ne. Gen. Corp. v. Wellington

Adv., 82 N.Y.2d 158, 13 (1993) (noting that the terms of the contract control the relationship of

the parties). Where sophisticated parties to an arms-length transaction delineate rights and

obligations in a formal written agreement, courts should not read additional duties and

obligations into the agreements. See Ne. Gen. Corp., 82 N.Y.2d at 162 (noting that if the parties

“do not create their own relationship of higher trust, courts should not ordinarily transport them

to the higher realm of relationship and fashion the stricter duty for them”); Saul v. Cahan, 153

A.D.3d. 947, 949 (2d Dep’t 2017) (explaining that courts will generally not infer a fiduciary

relationship in “arm’s-length business transaction[s] involving sophisticated business people”

(internal quotations omitted)).

       Had the parties intended for BAAM also to owe duties to Great Western, the Trust

Agreement could easily have provided as such, or even remained silent. But the parties were not

silent on the question of to whom BAAM owed a duty; they made a direct and pointed statement

that BAAM is solely the agent of, and acts on behalf of, Alpha Re. (SAC, Ex. C, § 4(c).)



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        Prickett v. New York Life Insurance Co., 896 F. Supp. 2d 236 (S.D.N.Y. 2012) (Griesa,

J.), is instructive here. In Prickett, a sophisticated life insurance policyholder sued New York

Life and other parties after the investments backing the policy were lost in a Ponzi scheme. New

York Life had invested in the Tremont Fund, a “fund of funds” hedge fund. Id. at 239. After the

premiums were lost, the policyholder sued, among others, the investment advisor for the

Tremont Fund, alleging breach of fiduciary duty. Id. at 250. The court held that there was no

fiduciary duty because “Tremont did not assume any duty to ‘act for’ or ‘give advice to’” the

plaintiff; and “Tremont’s relation was with its investor, New York Life, whose money to fund

the investment came from policyholders.” Id. The court further observed that “Tremont did not

serve as an investment advisor for [the plaintiff]; Tremont served as an investment advisor to the

Tremont Fund, whose limited partners included New York Life, but not” the plaintiff. Id.; see

also Oddo Asset Mgmt. v. Barclays Bank PLC, 19 N.Y.3d 584, 593-94 (2012) (collateral

managers in complicated investment scheme did not have fiduciary duty to plaintiff where there

was no contractual relationship, no direct dealings, and no direct communications between

plaintiff and collateral managers).

        BAAM never assumed any duty to advise or act for Great Western. To the contrary, the

operative agreements here expressly establish that BAAM’s fiduciary obligations were to Alpha

Re. Great Western cannot establish the existence of a fiduciary duty owed by BAAM.

        C.       Great Western Cannot Establish that Graham Owed a Fiduciary Duty.

        The claims founded on fiduciary duty against Graham are even more tenuous. Graham is

not a signatory to or mentioned in any of the three agreements. 5 Great Western alleges that it



5
 Graham’s sole appearance in the three core agreements is when he signed, on BAAM’s behalf, the “Incumbency
Certificate” attached to the Trust Agreement, which is the formal authorization for BAAM to act as Investment
Manager for the Trust Account. (See SAC, Ex. C, p. 92).


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communicated with Graham “prior and subsequent to the execution of the Trust Agreement”

(SAC ¶ 74) and “on many occasions” (id. ¶ 86), but these generic allegations do not establish a

fiduciary duty. See SNS Bank v. Citibank, 7 A.D.3d 352, 355-56 (1st Dep’t 2004) (holding that

“plaintiff’s ‘subjective claims of reliance on defendant’s expertise’ did not give rise to a

‘confidential relationship’ whose ‘requisite high degree of dominance and reliance’ was not in

existence prior to the transaction giving rise to the alleged wrong”). Nor do these allegations

suffice to plead a breach of fiduciary duty claim with particularity, as required by Rule 9(b). See

Fahlenbach v. Trans Pac. Capital, Inc., No. 95-cv-8776, 1996 WL 22602, at *4 (S.D.N.Y. Jan.

19, 1996) (Patterson, J.) (dismissing breach of fiduciary duty claim in securities case for

plaintiffs’ failure to allege facts sufficient to evaluate the claim).

        Great Western fails to establish that either BAAM or Graham owed any fiduciary duty to

Great Western. Accordingly, Count One should be dismissed.

III.    Count Two: Great Western Fails to State a Claim for Aiding and Abetting a Breach
        of Fiduciary Duty Against BCM, Blue Elite Ltd., Blue Elite L.P., and Blue II.

        To state a cause of action for aiding and abetting a breach of fiduciary duty, Great

Western must allege: (1) that it was owed a fiduciary duty; (2) that defendants knowingly

induced the breach or participated in aiding the breach; and, (3) that it suffered damages as a

result of the breach. Kaufman v. Cohen, 307 A.D.2d 113, 125 (1st Dep’t 2003), cited with

approval, Rondi LLC v. Arfa, 15 N.Y.3d 826, 827 (2010). A failure to allege any one of these

three elements is reason enough to dismiss the claim. Shea v. Hambros PLC, 244 A.D.2d 39, 46

(1st Dep’t 1998). Great Western fails to demonstrate even a single element, much less all three.

        As discussed above, there was no fiduciary duty owed by Graham or BAAM. Nor has

Great Western alleged a fiduciary duty owed by any of the other Blue Defendants. Blue Elite

Ltd., Blue Elite L.P., and Blue II are hardly mentioned in the SAC at all. There are no



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allegations directed specifically to these entities. Rather, when they are discussed (outside of the

pro forma party and jurisdiction recitations), they are always grouped together in some

conclusory allegation. (See, e.g., SAC ¶¶ 106, 177.) The SAC contains no direct factual

statement as to what these entities knew about Great Western, what they did, and why they did it,

much less that these entities knew they were receiving funds that originated from the Trust

Account. These entities were entirely passive. See Pension Comm. of Univ. of Montreal

Pension Plan v. Banc of Am. Sec., LLC, 446 F. Supp. 2d 163, 203 (S.D.N.Y. 2006) (Scheindlin,

J.) (finding aiding and abetting liability could not attach where defendant’s role in the scheme

was “entirely passive” and merely involved permitting the principal to “use its resources in the

same manner as any other customer”).

       The allegations against BCM are similarly lacking. BCM is alleged to have been the

collateral manager of Series 2011-C, an entity entirely separate and independent from any entity

connected to Great Western. BCM had no role in the agreements with Great Western, or the

Trust Account, and is not alleged to have had any direct contact with Great Western.

       There are only two semi-concrete allegations made in the SAC with regard to BCM.

Great Western alleges that: (1) in September 2015 and 2016, BCM signed confirmations related

to the repurchase agreements, and (2) BCM did not tell Great Western that the Series 2011-C

fund was heavily leveraged. (See SAC ¶¶ 92-102.) But, aiding and abetting a breach of

fiduciary duty based on a failure to act is only valid if the defendant was somehow obligated to

act. In re Sharp Int’l Corp., 403 F.3d 43, 50 (2d Cir. 2005) (observing that “mere inaction of an

aider and abettor constitutes substantial assistance only if the defendant owes a fiduciary duty

directly to the plaintiff” (quoting Cohen, 307 A.D.2d at 126)). And because neither Graham nor




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any other Blue Defendant owed a fiduciary duty to Great Western, BCM cannot have aided and

abetted a breach of that duty by failing to report to Great Western.

       The SAC fails to offer any detail as to the obligations and duties that it claims were owed.

Great Western has failed to offer any non-conclusory, substantive allegations of the existence of

a fiduciary duty of which Blue Elite Ltd., Blue Elite L.P., Blue II, or BCM had actual

knowledge. Nor has Great Western alleged that any of these entities actually induced or

participated in any breach. Thus, Count Two of the SAC for aiding and abetting a breach of

fiduciary duty should be dismissed.

IV.    Count Three: Great Western’s Claims of Fraud against Graham, BCM, and BAAM
       Should Be Dismissed.

       To state a claim for fraud, Great Western must allege: (1) a material misrepresentation,

(2) an intent to induce reliance, (3) justifiable reliance, and (4) resulting damages. Eurycleia

Partners, L.P. v. Seward & Kissel, LLP, 12 N.Y.3d 553, 559 (2009). Rule 9(b) requires that any

fraud claim allege the time, place, and speaker of the fraudulent statement and explain why the

statement was fraudulent. Rombach v. Chang, 355 F.3d 164, 170 (2d Cir. 2004). This standard

requires more than vague allegations that track the basic elements of a cause of action.

Moreover, group pleading is insufficient; each defendant’s particular participation must be

specifically pled. In re Livent, Inc. Sec. Litig., 78 F. Supp. 2d 194, 213 (S.D.N.Y. 1999) (Sweet,

J.). As Great Western fails to allege every necessary fact for even one of the allegedly numerous

misrepresentations (see SAC ¶ 74), Great Western’s fraud claims should be dismissed.

       In summary fashion, Great Western alleges the following misstatements: (1) the

ownership of Series 2011-C, (2) who was responsible for running Series 2011-C, (3) the purpose

of the investments into Series 2011-C; (4) the valuation of the Trust Account assets through false




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monthly and annual statements; and (5) the funding and collateral supporting Series 2011-C. (Id.

at ¶¶ 70-86.) None of these allegations are supported by dates, names, or other specifics.

         In fact, at least one of these allegations is directly contradicted by the SAC itself. Only

WSFS is alleged to have sent monthly statements. (See id. at ¶ 81.) Neither Graham, BAAM,

nor BCM had any obligation to provide statements to Great Western.

         The most fully formed Great Western allegations are: 6

         •        that Graham and Solow “repeatedly affirmed that the collateral backing the
                  Repurchase Agreement were only cash and United States Treasury securities,”
                  (id. at ¶ 74);

         •        that from 2012 to 2016 Defendants Alpha Re, Graham, BAAM, Solow, Tolaram,
                  and WSFS made statements as to the collateral behind the Repurchase Agreement
                  (id. at ¶ 80);

         •        that “on many occasions” Graham was asked (it is not alleged by whom, other
                  than “Great Western”) if the Trust Account Statements showed the true value of
                  the Repurchase Agreement (id. at ¶ 86); and

         •        Graham and BAAM were asked to provide information, and said that they would,
                  but ultimately did not provide the information. 7 (Id. at ¶¶ 132-33.)

         These are precisely the sort of dishwater conclusions that Rule 9(b) is designed to

prevent. This is not a mere form objection. The misrepresentations that Great Western alleges

are entirely dependent on when the underlying representations were made. A statement as to

value or collateral of an active investment fund, with fluctuating values, can only be analyzed




6
 Throughout the SAC, Great Western’s conflation of Graham with any number of entities, including BAAM and
BCM, often makes it impossible to tell from the face of the SAC the defendant to which Great Western is ascribing
certain conduct.

7
 It is difficult to comprehend how statements saying that information would be provided, when that information was
not later turned over, can constitute a “material” misrepresentation or omission for purposes of fraud liability, or
why it was justifiable for Great Western to rely on these promises. It is similarly difficult to understand how Great
Western can claim fraud based upon Graham and BCM’s failure to turn over an internal report, where they had no
duty to do so. (See SAC ¶ 111.)


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relative to when the statement was made. Great Western fails to infuse its allegations of fraud

with any particularity, much less sufficient detail to survive a motion to dismiss.

        Additionally, Great Western cannot establish liability for fraud based upon omissions

(see, e.g., id. at ¶¶ 79, 91-92, 102, 111) as fraud by omission is only a viable cause of action

where a fiduciary duty is owed. Mandarin Trading Ltd. v. Wildenstein, 16 N.Y.3d, 173, 179

(2011). Further, Great Western cannot allege both fraud and contract claims without some legal

duty separate from the contractual obligations. Physicians Mut. Ins. Co. v. Greystone Serv.

Corp., Inc., No. 07 Civ. 10490(NRB), 2009 WL 855648, at *5 (S.D.N.Y. Mar. 25, 2009)

(Buchwald, J.).

         As Great Western has failed to plead any allegation sounding in fraud against either

BAAM, BCM, or Graham, Count Three of the SAC should be dismissed.

V.      Count Four for Aiding and Abetting Fraud Against Blue Elite Ltd., Blue Elite L.P.,
        and Blue II Should Be Dismissed for Failure to State a Claim.

        To state a claim against Blue Elite Ltd., Blue Elite, L.P., and Blue II for aiding and

abetting a fraud, Great Western must show: (1) the existence of a fraud, (2) the defendant’s

actual knowledge of a fraud, and (3) that the defendant provided substantial assistance to

advance the fraud. In re Agape Litig., 773 F. Supp. 2d 298, 307 (E.D.N.Y. 2011). Just as the

specificity required by Rule 9(b) is absent from the SAC for Great Western’s claims of fraud, so

too is it lacking for the follow-on claims of aiding and abetting fraud. Indeed, even a cursory

review of the SAC reveals that there are no allegations to support any inference that Blue Elite,

Ltd., Blue Elite L.P., or Blue II, Ltd. knew of the alleged fraud. 8 The allegations against these

entities portray them as entirely passive entities in indirect receipt of funds that may have


8
  The only way that Great Western could plead that these entities had knowledge is by imputing some alleged
knowledge of Graham to each one of them. But then, the aiding and abetting fraud claim is just duplicative of the
fraud claim itself and should be dismissed.


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originated from the Trust Account through several intervening layers of investment. (See SAC ¶

90.) These are hardly facts that “give rise to a ‘strong inference’ of actual knowledge.” In re

Agape Litig., 773 F. Supp. 2d at 307 (quoting Fraternity Fund Ltd. v. Beacon Hill Asset Mgmt.,

LLC, 479 F. Supp. 2d 349, 367 (S.D.N.Y. 2007)). Nor are there any allegations at all of

substantial assistance by any of these entities. Accordingly, Count Four of the SAC should be

dismissed against Blue Elite Ltd., Blue Elite L.P., and Blue II.

VI.    Count Eight Alleging Civil Conspiracy to Commit Fraud Against the Blue
       Defendants Should Be Dismissed.

       Great Western’s claim of civil conspiracy to commit fraud against Graham and the Blue

Defendants fails because “New York does not recognize an independent tort of conspiracy.”

Kirch v. Liberty Media Corp., 449 F.3d 388, 401 (2d Cir. 2006). Since Great Western fails to

state a claim for fraud, it cannot state a claim for civil conspiracy. Id.

       Even if the Court finds that Great Western states a claim for fraud, Great Western still

fails to state a proper civil conspiracy claim. To do so, Great Western must “demonstrate the

primary tort, plus the following four elements: (1) an agreement between two or more parties; (2)

an overt act in furtherance of the agreement; (3) the parties’ intentional participation in the

furtherance of a plan or purpose; and (4) resulting damage or injury.” Ritchie Capital Mgmt.,

L.L.C. v. Gen. Elec. Capital Corp., 121 F. Supp. 3d 321, 339 (S.D.N.Y. 2015) (Engelmayer, J.).

       Great Western’s failure to allege any agreement between the defendants is fatal to its

claim. At best, Great Western states that defendants “together and with others, conspired with

each other for the unlawful objective of defrauding Great Western,” and that the “civil

conspirators”—an amorphous and undefined term—“reached an agreement or understanding to

commit the fraud described.” (SAC ¶¶ 223-24.) But, Great Western fails to support these

allegations with any “specific times, facts, and circumstances of the alleged conspiracy.”



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Brownstone Inv. Grp., LLC v. Levey, 468 F. Supp. 2d 654, 661 (S.D.N.Y. 2007) (Marrero, J.).

As against Blue Elite Ltd., Blue Elite L.P., and Blue II, Great Western also fails to allege any

overt action in connection to or the intentional participation in any alleged fraud.

        Moreover, because conspiracy claims are used “to connect someone to an otherwise

actionable tort committed by another and establish that those actions were part of a common

scheme,” this Court should dismiss any conspiracy claims that merely duplicate the underlying

tort claims. Lewis v. Rosenfeld, 138 F. Supp. 2d 466, 479 (S.D.N.Y. 2011) (Scheindlin, J.). The

allegations against BCM, BAAM, and Graham are duplicative of those alleged in Count Three,

and should be dismissed.

VII.    Counts Five through Seven Alleging Damages Under Civil RICO Should Be
        Dismissed.

        A Civil RICO allegation is the “litigation equivalent of a thermonuclear device,” with its

access to extreme sanctions. Katzman v. Victoria’s Secret Catalogue, 167 F.R.D. 649, 655

(S.D.N.Y. 1996) (Sweet, J.) (quoting Miranda v. Ponce Fed. Bank, 948 F.2d 41, 44 (1st Cir.

1991)). Consequently, courts should review Civil RICO claims with particular scrutiny, and

ensure that “actions traditionally brought in state courts do not gain access to treble damages and

attorneys fees in federal courts simply because they are cast in terms of RICO violations.”

Mathon v. Marine Midland Bank, N.A., 875 F. Supp. 986, 1001 (E.D.N.Y. 1995); see also

Katzman, 167 F.R.D. at 655 (observing that “courts should strive to flush out frivolous RICO

allegations at an early stage of the litigation”).

        A.      Great Western’s RICO Claims Are Barred By the PSLRA.

        Enacted in 1995, the Private Securities Litigation Reform Act (“PSLRA”), codified in

relevant part at 18 U.S.C. § 1964(c), bars any Civil RICO suit involving “any conduct that would

have been actionable as fraud in the purchase or sale of securities.” 18 U.S.C. § 1964(c); see



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also MLSMK Inv. Co. v. JP Morgan Chase & Co., 651 F.3d 268, 278-79 (2d Cir. 2011). The

term “securities fraud,” most commonly brought as a 10b-5 action, applies to a broad range of

conduct beyond just the purchase and sale of a specific security, including “the trading process.”

Luzerne Cty. Ret. Bd. v. Makowski, 627 F. Supp. 2d 506, 557 (M.D. Pa. 2007); Seippel v.

Jenkens & Gilchrist, P.C., 341 F. Supp. 2d 363, 373 (S.D.N.Y. 2004) (Scheindlin, J.) (noting that

“all that is required for a section 10(b) violation is that the scheme to defraud and the sale of

securities coincide”).

       The PSLRA bars RICO claims based on “conduct undertaken to keep a securities fraud

Ponzi scheme alive,” as well as claims where the plaintiff lacks standing to pursue a securities

fraud claim against the defendant, such as when aiding and abetting is alleged. MLSMK Inv. Co.,

651 F.3d at 277 n.11, 279. Thus, “the question is not whether a plaintiff can state a claim under

a non-securities-related predicate act, but whether the allegations that form the basis of that

predicate act occur ‘in connection with’ securities fraud.” Sell v. Zions First Nation Bank, No.

CV-05-0684, 2006 WL 322469, at *10 (D. Ariz. Feb. 9, 2006) (quoted with approval in MLSMK

Inv. Co., 651 F.3d at 277 n.11). And if at least “one predicate act” in the alleged RICO scheme

occurred in connection with securities fraud, “the whole scheme is subject to the PSLRA bar.”

Gilmore v. Gilmore, No. 09 Civ. 6230 (WHP), 2011 WL 2874880, at *6 (S.D.N.Y. Sept. 1,

2011) (Pauley, J.). This broad reading of the PSLRA bar is necessary to “prevent litigants from

using artful pleading to boot-strap securities fraud cases into RICO cases, with their threat of

treble damages.” MLSMK Inv. Co., 651 F.3d at 274.

       Here, Great Western has admitted that the “misconduct” that was already investigated

and settled by the SEC serves as the “the basis [of its] Complaint in this action.” (Dkt. No. 56, p.

2.) Great Western also claims that there were “repeated instances of wire fraud” related to the




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purchase and sale of securities and financial instruments for the benefit of the Trust Account.

(See, e.g., SAC ¶¶ 80-83, 86 (alleging misrepresentations about purchased securities), ¶ 87

(alleging that Graham and others made misrepresentations and transferred money into risky

securities), ¶ 93 (referring to the “purchased securities” underlying the Repurchase Agreement);

¶ 112 (referring to shares of various funds in Series 2011-C).)

       This is precisely the sort of action that Congress contemplated would be excluded from

Civil RICO. In re Prudential Sec. Inc. Ltd. P’ships Litig., 930 F. Supp. 68, 77 (S.D.N.Y. 1996)

(Pollack, J.) (noting that Congress intended to prevent the pleading of offenses such a mail or

wire fraud if the offenses were “based on conduct that would have been actionable as securities

fraud” (quotation omitted)). Section 1964(c) expressly bars Great Western from proceeding with

this action under Civil RICO. Counts Five, Six, and Seven should be dismissed with prejudice.

       B.      Count Five Should Be Dismissed against Graham, BAAM, and BCM
               Because Great Western Fails to State a Claim for a Violation of RICO, 18
               U.S.C. § 1962(c).

         To establish a RICO violation under 18 U.S.C. § 1962(c), Great Western must allege:

“(1) conduct (2) of an enterprise (3) through a pattern (4) of racketeering activity.” Kim v.

Kimm, 884 F.3d 98, 103 (2d Cir. 2018); see also Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479,

496 (1985). As the alleged underlying predicate acts sound in fraud, the allegations must be pled

with specificity. Plount v. Am. Home Assur. Co., Inc., 668 F. Supp 204, 207 (S.D.N.Y. 1987)

(Sweet, J.). Because Great Western fails to allege an enterprise, and fails to allege the predicate

acts of wire fraud with specificity, Count Five should be dismissed.

               1.      Great Western Fails to Allege the Existence of an Enterprise.

       To establish the existence of an enterprise, Great Western must allege that the defendants:

(1) formed an entity distinct from the individual defendants, and (2) engaged in a course of




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fraudulent or illegal conduct with a common purpose. See DeFalco v. Bernas, 244 F.3d 286,

306-07 (2d Cir. 2001) (discussing elements of a RICO enterprise).

                       a.     Great Western cannot allege that Alpha Re, BCM, BAAM, and
                              Regatta constitute four separate RICO enterprises.

       Great Western alleges four separate corporate “enterprises”: Alpha Re, BCM, BAAM,

and Regatta. (SAC ¶ 190.) It then alleges, without any specificity, that Graham and others are

“associated with each of the four [e]nterprises.” (Id. at ¶ 199.) These four entities are not RICO

“enterprises” because a “RICO ‘person’ and a RICO ‘enterprise’ must be distinct.” DeFalco,

244 F.3d at 307 (quoting Cedric Kushner Promotions, Ltd. v. King, 219 F.3d 115, 116 (2d Cir.

2000)); (compare SAC ¶ 189 (identifying Alpha Re, BCM, BAAM, and Regatta as “persons” for

purposes of RICO) with ¶ 190 (calling these same entities “enterprises”)). A plaintiff cannot

circumvent the rule by pleading an association-in-fact enterprise between a company and its

employees. DeFalco, 244 F.3d at 307; see also Bennett v. U.S. Tr. Co., 770 F.2d 308, 315 (2d

Cir. 1985) (explaining that a “corporate entity may not be simultaneously the ‘enterprise’ and the

‘person’ who conducts the affairs of the enterprise through a pattern of racketeering activity”).

In other words, a company cannot be an enterprise with itself. DeFalco, 244 F.3d at 307; see

also Conte v. Newsday, Inc., 703 F. Supp. 2d 126, 133-34 (E.D.N.Y. 2010). Allegations that

BCM and BAAM are separate, stand-alone RICO enterprises should be rejected and any claim

based on these allegations dismissed.




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                           b.       Great Western fails to plead an association-in-fact enterprise
                                    distinct from the Racketeering predicate acts.

         Great Western further claims the existence of an “association-in-fact [enterprise] between

and among Alpha [Re], BCM, BAAM, and Regatta employees and entities” (the “Enterprise”). 9

(SAC ¶ 190.) The RICO allegation thus fails against Graham because he is not named as

participating in the Enterprise.

         Moreover, this alleged Enterprise fails the distinctiveness test. A distinct association-in-

fact enterprise exhibits at least three features: “a purpose, relationships among the individuals

associated with the [E]nterprise, and longevity.” Elsevier Inc. v. W.H.P.R., Inc., 692 F. Supp. 2d

297, 306 (S.D.N.Y. 2010) (McMahon, J.). An enterprise “coterminous with the pattern of

racketeering activity,” is not a distinct entity. Stein v. World-Wide Plumbing Supply, Inc., 71 F.

Supp. 3d 320, 327 (E.D.N.Y. 2014). A RICO enterprise must have “some sort of existence

independent of the commission of the predicate acts.” Wood v. Inc. Vill. of Patchogue of N.Y.,

311 F. Supp. 2d 344, 357 (E.D.N.Y. 2004).

         Great Western alleges that a collection of disparate entities all banded together to obtain

control of Great Western’s assets. Great Western attempts to give its fictive “Enterprise”

longevity by claiming a scheme to “fraudulently secure reinsurance contracts with insurance

companies,” but identifies no other insurance company or any other instances of alleged

improper conduct. There is no indication that this manufactured cabal operated together before

or after the facts alleged in the SAC. As such, the alleged Enterprise is not distinct from the

pattern of racketeering activity.




9
 The term “Enterprise” is never defined in the SAC, but appears to be used interchangeably to refer to the four
alleged corporate enterprises, and the one alleged association-in-fact enterprise. (See SAC ¶¶ 191, 198-99.) In this
memorandum, “Enterprise” is used to refer to the alleged association-in-fact enterprise.


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       Second, Great Western fails to allege a common purpose beyond a conclusory statement

that the aim was to “enrich the scheme’s founders.” (SAC ¶ 190). Enrichment is presumably the

aim of every business deal, for good or for ill. Further, the claim of common purpose is undercut

by the fact that Ability, allegedly part of the RICO scheme, abruptly (and improperly) withdrew

significant assets from Series 2011-C, creating a critical loss of liquidity in Series 2011-C and

freezing up the assets of the entire investment structure. (See id. at ¶¶ 113-122, 126.) Great

Western’s failure to plead an enterprise is fatal to the RICO claim.

               2.      Great Western Fails to Allege that Each Defendant Committed at Least
                       Two Predicate Acts.

       The SAC alleges repeated instances of wire fraud but fails to identify any actual wire

fraud and certainly does not do so with the particularity required by Rule 9(b). Nasik Breeding

& Research Farm Ltd. v. Merck & Co., Inc., 165 F. Supp. 2d 514, 537 (S.D.N.Y. 2001)

(Schwartz, J.) (holding that Rule 9(b) applies with particular force to RICO claims and that

plaintiffs must plead with particularity as to each defendant). For wire fraud, Great Western

must plead: “(1) a scheme to defraud, (2) money or property as the object of the scheme, and (3)

use of the [] wires to further the scheme.” United States v. Binday, 804 F.3d 558, 569 (2d Cir.

2015). There must also be, at a minimum, the contemplation of some harm or injury. Id.

       The essential problem with Great Western’s allegations of wire fraud as RICO predicate

acts is Great Western’s failure to identify any actual fraud. It alleges only vague conversations

occurring over a four-year period between or among any number of defendants, but nothing

more. (See, e.g., SAC ¶ 74.) Further, Great Western’s claims that BCM, BAAM, and Graham’s

interconnectedness was deliberately concealed (purportedly amounting to fraud), is directly

contradicted by the SAC. BAAM was disclosed in the Trust Agreement. (Id., Ex. C, § 4.)




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         Great Western admits that it had multiple conversations with Graham over the years, so it

clearly was aware that Graham was involved with BAAM. (Id. at ¶ 74.) Graham also signed the

“Incumbency Certificate” attached to the Trust Agreement. (Id., Ex. C, p. 92.) The Repurchase

Confirmations were all sent to WSFS, signed by Graham on behalf of BCM. (Id. at ¶¶ 93-99.)

Clearly there was no active concealment.

         Great Western’s allegations about the value of the Repurchase Agreements do not save

the SAC. Great Western suggests that the Repurchase Confirmations were false because Series

2011-C had a value lower than the value of the Repurchase Agreement. But the Repurchase

Confirmations do not make any representations as to the value of Series 2011-C, just its purchase

price. Further, as the SAC makes clear, there were sufficient assets in Series 2011-C to cover the

Repurchase Agreement. (See id. at ¶¶ 93-94 (stating that the September 2015 Repurchase

Agreement identified collateral of $134.7 million, while the December 2015 valuation of Series

2011-C showed assets of $148.5 million); ¶¶ 98-99 (identifying only the “market value” of

Series 2011-C, not total or net assets).) 10 The fund may have been leveraged, but the SAC

pleads no misrepresentation. Moreover, the nature of the leverage, i.e., long-term or short term,

is not alleged. This, of course, is a critical consideration when attempting to determine the value

of Series 2011-C when the Repurchase Confirmation came due.

         Perhaps recognizing this deficiency, Great Western has added new allegations to the

SAC, stating that, “[b]etween 2012 and 2017, the RICO Enterprises all withdrew significant



10
   The Market Value of an investment vehicle is not an analysis of assets or even net assets; that is known as “book
value” or “accounting value.” Market value is the measure of what an entity is worth on the open market.
Investopedia, Market Value vs. Book Value, April 18, 2018 (available at
https://www.investopedia.com/articles/investing/110613/market-value-versus-book-value.asp). Among other things,
it takes account of leverage as well as assets. A fund’s book value – the amount of assets subtracted by liabilities –
may differ substantially from market value, and total assets differ substantially from both. Id. In other words,
market value is of little use in determining whether Series 2011-C actually held the collateral identified in the
Repurchase Confirmations.


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amounts of money from the Great Western Trust Account as part of the scheme to defraud Great

Western under the auspices of ‘management fees’ or the like. All of the money and asset

transfers occurred via wires.” (Id. at ¶ 202(e).) Again, this general, conclusory allegation fails to

satisfy the pleading requires of Rule 9(b).

       “Allegations of . . . wire fraud acts ‘should state the contents of the communications, who

was involved, [and] where and when they took place., and [should] explain why they were

fraudulent.” Spool v. World Children Int’l Adoption Agency, 520 F.3d 178, 185 (2d Cir. 2008)

(quoting Mills v. Polar Molecular Corp., 12 F.3d 1170, 1176 (2d Cir. 1993)). The complaint

must have at least something specific that the defense can identify and evaluate. Generally

alleging “wires” and withdrawals made at some undefined point within a six-year period does

not satisfy the continuity requirement for Civil RICO. Cofacredit, S.A. v. Windsor Plumbing

Supply Co., Inc., 187 F.3d 229, 242 (2d Cir. 1999).

       In short, Great Western identifies no transaction that used wires that was actually or even

arguably fraudulent and makes no allegations sufficient to support an inference of an intent to

deceive. The allegations that do allege fraud are drafted in the blandest, most generic terms. Nor

does Great Western allege any predicate acts specifically performed specifically by Graham,

BCM, or BAAM. Count Five of the SAC should be dismissed.

       C.      Count Six: Great Western Fails to State a Claim for a Violation of RICO, 18
               U.S.C. § 1962(a) against Graham, BCM, and BAAM.

       Great Western’s allegations that Graham, BCM, and BAAM violated 18 U.S.C.

§ 1962(a) are confined to three conclusory paragraphs that do nothing more than state the

elements of the claim. (See SAC ¶¶ 212-14.) The claim is supported by no substantive

allegations at all. Count Six should be dismissed.




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       To state a claim under 18 U.S.C. § 1962(a), Great Western must allege that Graham,

BCM, and BAAM: (1) “used or invested racketeering income to acquire or maintain an interest

in the alleged enterprise,” and (2) that Great Western “suffered an injury as a result of that

investment by defendants.” Allen v. New World Coffee, Inc., No. 00 CIV. 2610 (AGS), 2002 WL

432685, at *2 (S.D.N.Y. Mar. 19, 2002) (Schwartz, J.) (emphasis in original, quotation omitted).

       Nothing in the SAC even suggests that Graham, BCM, or BAAM invested anything into

the alleged “Enterprise,” much less racketeering income invested for the purpose of acquiring or

maintaining an interest in the “Enterprise.” It is not even clear what such an investment would

have looked like, given that the “Enterprise” is, at best, a loose association of various entities

without any centralized funding base. More to the point, Great Western has not and cannot

allege that it suffered any injury as a result of any investment. The locus of Great Western’s

alleged injury is that the defendants failed to maintain sufficient acceptable collateral, not that

the defendants took over and ruined a going concern. As Great Western fails to allege that

Graham, BCM, or BAAM violated 18 U.S.C. § 1962(a), Count Six should be dismissed.

       D.      Great Western Fails to State a Claim for a Violation of RICO subsection (d)
               against the Blue Defendants.

       As Great Western has not and cannot plead any substantive RICO claim, Count Seven,

alleging a RICO conspiracy, should also be dismissed.

       Additionally, Count Seven should be dismissed because Great Western fails to “allege

facts implying any agreement involving each of the defendants to commit at least two predicate

acts,” Hecht v. Commerce Clearing House, Inc., 897 F.2d 21, 25 (2d Cir. 1990), or facts

sufficient to support an inference that each defendant agreed to participate in a conspiracy, Nasik

Breeding, 165 F. Supp. 2d at 540. The RICO conspiracy claim particularly fails against Blue

Elite Ltd., Blue Elite L.P., and Blue II, who hardly appear in the SAC at all, and never in any



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substantive fashion. The failure to plead any agreement by the Blue Defendants to participate in

a conspiracy should result in the dismissal of the claim.

       E.      Great Western’s Claims of Damages or Reputational Injury and for the Sale
               of Great Western Should Be Rejected.

       Great Western claims damages for the value of Trust Account assets, harm to its business

reputation, and the forced sale of its business. But RICO compensates only injury to business or

property. 18 U.S.C. §1964(c). Thus, Great Western cannot state a claim for damages under

RICO for either the loss of business reputation or “forced sale.”

       Reputational harm is not cognizable under RICO. Burrowes v. Combs, 312 F. Supp. 2d

449, 452 (S.D.N.Y. 2004) (Rakoff, J.). As to the “forced sale” of the business, Great Western

alleges that, under pressure from the Utah Department of Insurance, it was sold to the American

Enterprise Group for “pennies on the dollar.” (SAC ¶ 145.) This is essentially a “loss of value”

argument that cannot form the basis of a RICO injury. In re: Gen. Motors LLC Ignition Switch

Litig., No. 14-MD-2543 (JMF), 2016 WL 3920353, at *16 (S.D.N.Y. July 15, 2016) (Furman, J.)

(quoting McLaughlin v. Am. Tobacco Co., 522 F.3d 215, 228 (2d Cir. 2008)). A RICO injury

must be quantifiable. Chevron Corp. v. Donziger, 833 F.3d 74, 139-40 (2d Cir. 2016).

Intangible “loss of value” claims are a form of “expectation” injury. In re: Gen. Motors, 2016

WL 3920353, at *16. Such expectation injuries “cannot constitute ‘business or property’ under

RICO.” Villoldo v. BNP Paribas S.A., 648 F. App’x 53, 55 (2d Cir. 2016).

       Thus, Great Western’s cognizable RICO damages, were it even able to state a RICO

claim, are confined solely to the quantifiable loss to the Trust Account.

VIII. Count 11: Great Western’s Unjust Enrichment Claims Should Be Dismissed.

       Great Western’s claim for unjust enrichment also fails, because “an unjust enrichment

claim is barred ‘if there is a valid contract governing the subject matter of the dispute, even if one



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of the parties to the claim is not a party to that contract.’” Mueller v. Michael Janssen Gallery

Pte. Ltd., 225 F. Supp. 3d 201, 207 (S.D.N.Y. 2016) (Buchwald, J.) (emphasis in original)

(quoting Vista Food Exch., Inc. v. Champion Foodservice, LLC, 124 F. Supp. 3d 301, 312

(S.D.N.Y. 2015) (collecting cases)).

       Here, Great Western has expressly pled the existence of a contract governing the entirety

of the subject matter at issue—namely, the parties’ rights and obligations under the Coinsurance,

Novation, and Trust Agreements. (SAC ¶¶ 64-67 & Ex. C.) The existence of written contracts

covering the subject of the unjust enrichment claim means the unjust enrichment claim must fail.

       Additionally, Great Western fails to plead that any Blue Defendant has been unjustly

enriched. To plead a claim for unjust enrichment under New York law, “a plaintiff must allege

that ‘(1) defendant was enriched, (2) at plaintiff’s expense, and (3) equity and good conscience

militate against permitting defendant to retain what plaintiff is seeking to recover.’” Mueller,

225 F. Supp. 3d at 207 (quoting Diesel Props S.r.l. v. Greystone Bus. Credit II LLC, 631 F.3d 42,

55 (2d Cir. 2011)). Great Western claims that it “does not know the whereabouts of the over

$135 million that should be in the Trust Account,” although Alpha Re had no obligation, under

any agreement, to maintain such cash assets. (SAC ¶ 7.) It makes no allegation, however, that

Graham, Blue Elite Ltd., Blue Elite L.P., or Blue II were ever unjustly enriched by any of Great

Western’s funds. As for BAAM and BCM, it alleges only that, from September 2012 to March

2017, they received a combined total of $15.9 million from sources specified only as the “Alpha

Re Reinsurance Trusts,” a term that is never defined, could mean literally anything, and

apparently includes non-Alpha Re related entities, such as Series 2011-C. (Id. at ¶ 104.)

       Equally unavailing is Great Western’s claim that BAAM received an “incentive fee”

from Blue Elite Ltd., out of funds that should have been reserved for Great Western. (Id. at




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¶ 105). Aside from a few conclusory allegations, Great Western offers no facts as to the amount

of Alpha Re funds invested in Blue Elite Ltd., when those funds were invested, the value of Blue

Elite Ltd. at the time the alleged payment was made, or any other fact to support an inference

that Great Western has a claim to Blue Elite Ltd. assets.

       Finally, Blue Elite Ltd., Blue Elite L.P., and Blue II all lack a sufficient relationship with

Great Western for Great Western to assert a claim of unjust enrichment. Mandarin Trading,

Inc., 16 N.Y.3d at 182 (holding that “a claim [for unjust enrichment] will not be supported if the

connection between the parties is too attenuated”). Great Western was separated from Blue Elite

Ltd., Blue Elite L.P., and Blue II by multiple levels of investment, including the Trust Account

and Series 2011-C. Furthermore, the SAC alleges no facts that “indicate a relationship between

the parties that could have caused reliance or inducement[,]” further dooming the claim. Id. at

183. The reality, as evidenced by the SAC, is that Great Western and Blue Elite Ltd., Blue Elite

L.P., and Blue II “simply had no dealings with each other,” and certainly not dealings that “could

have caused reliance or inducement.” Georgia Malone & Co., Inc. v. Rieder, 19 N.Y.3d 511,

517-18 (N.Y. 2012) (quotation omitted).

       Given the myriad deficiencies in the unjust enrichment claim as a matter of law, Count 11

should be dismissed for failure to state a claim.

                                         CONCLUSION

       Great Western fails to correctly plead any of its causes of action against the Blue

Defendants. This entire overblown SAC is no more than a predictable attempt to magically

transform an already adjudicated contract claim into a newer and better fraud claim. This tactic

should be rejected. This is not a fraud case and certainly not a claim appropriate for the

imposition of treble damages and attorney’s fees. The SAC should be dismissed in its entirety

against the Blue Defendants with prejudice.


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Dated: February 5, 2019            By:    /s/ Eric R. Breslin               .
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